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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                   AT LONDON

         UNITED STATES OF AMERICA,                      )
                                                        )    CRIMINAL NO. 6:09-16-KKC
                        Plaintiff,                      )
                v.                                      )
                                                        )    OPINION AND ORDER
         FREDDY THOMPSON and                            )
         DOUGLAS C. ADAMS,                              )
                                                        )
                        Defendants.                     )


                                       ** ** ** ** **

         This matter is before the Court on the motions for separate trials filed by

  Defendants Freddy Thompson (DE 1367) and Douglas C. Adams (DE 1411). For the

  following reasons, the motions will be denied.

         The Defendants are charged with various violations of federal law, all of which

  are related to their alleged participation in a vote-buying and vote-stealing scheme in

  Clay County, Kentucky that lasted from 2002 to 2007 and encompassed three election

  cycles – 2002, 2004, and 2006. There are six other Defendants in this matter in addition

  to Adams and Thompson. Three of those Defendants – William B. Morris, Debra L.

  Morris, and Stanley Bowling – have pleaded guilty. The other three Defendants –

  Russell Cletus Maricle, William E. Stivers, and Charles Wayne Jones – are scheduled to

  be tried along with Adams and Thompson.

         Trial of this matter is scheduled for November 4, 2013. This will be the second

  trial of these Defendants. Their first trial occurred before U.S. District Judge Danny

  Reeves. After seven weeks, the jury found all of the Defendants guilty of all counts. The

  Sixth Circuit vacated the Defendants’ convictions finding that that the cumulative effect
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  of various errors during the trial warranted a new trial. United States v. Adams, et al., 722

  F.3d 788 (6th Cir. 2013). Judge Reeves recused from the matter and reassigned it to the

  undersigned. (DE 1311.) On retrial, the United States has represented that it will not

  proceed against the Defendants on certain charges in the indictment (Counts 2, 3, 4, 5, 6,

  7, and 13) and those charges have been dismissed. (DE 1375).

            Thus, the remaining counts and Defendants to be tried are:

  Count Number                     Defendants Charged                   Charge

  Count 1                          Maricle, Adams, Jones, Stivers,      Conspiracy to violate RICO
                                   Thompson                             under 18 U.S.C. § 1962(d)
  Count 8                          Maricle and Stivers                  Instructing a grand jury witness
                                                                        to testify falsely in violation of 18
                                                                        U.S.C. § 1503
  Count 9                          Thompson                             Giving false grand jury testimony
                                                                        in violation of 18 U.S.C. § 1503
  Count 10                         Maricle, Jones,     Stivers,   and   Conspiracy to oppress voting
                                   Thompson                             rights of citizens under 18 U.S.C.
                                                                        § 241
  Count 11                         Maricle, Jones, Stivers, and         Conspiracy to buy votes in
                                   Thompson                             violation of 18 U.S.C. § 371 and
                                                                        42 U.S.C. § 1973i
  Count 12                         Maricle, Adams, Jones, Stivers,      Forfeiture on RICO charge
                                   Thompson



            Thompson and Adams are the only two Defendants who have asked for separate

  trials. Defendant Thompson served as Clay County Clerk throughout the relevant time

  period. He was also a member of the Board of Elections during the 2004 and 2006

  elections. The indictment alleges that Thompson provided money to be distributed by

  election officers to buy votes and instructed election officers on how to steal votes by

  changing the votes cast by voters at the voting machines. As Clay County Clerk and

  election board member, Thompson was also responsible for certifying the accuracy of

  election results which he allegedly knew to be false. As the above chart demonstrates,

  Thompson is charged with four counts: conspiracy to violate RICO under 18 U.S.C.


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  § 1962(d); obstruction of justice under 18 U.S.C. § 1503; conspiracy against voting rights

  under 18 U.S.C. § 241; and conspiracy to buy votes under 18 U.S.C. § 371 and 42 U.S.C.

  § 1973i.

         Adams was the Clay County Superintendent of Schools during the relevant time

  period. The indictment alleges that Adams was a director of the criminal RICO

  enterprise, the Clay County Board of Elections, and was considered a political boss in

  Clay County. As a leader of the conspiracy, Adams is alleged to have exerted influence

  over the selection of precinct workers and the appointment of corrupt members of the

  board. The indictment also alleges that he recruited individuals to run for county offices

  on a slate that would benefit the conspiracy. Adams is charged with conspiracy to violate

  RICO under 18 U.S.C. § 1962(d).

         Neither Defendant argues that the Defendants and charges were improperly joined

  in the indictment under Federal Rule of Criminal Procedure 8. Instead, they argue that

  the Court should exercise its discretion to order separate trials under Federal Rule of

  Criminal Procedure 14(a). That rule provides that “[i]f the joinder of offenses or

  defendants in an indictment . . . appears to prejudice a defendant or the government, the

  court may order separate trials of counts, sever the defendants' trials, or provide any other

  relief that justice requires.” Fed.R.Crim.P. 14(a). The Supreme Court has explained that:

         [W]hen defendants properly have been joined under Rule 8(b), a district
         court should grant a severance under Rule 14 only if there is a serious risk
         that a joint trial would compromise a specific trial right of one of the
         defendants, or prevent the jury from making a reliable judgment about
         guilt or innocence.

  Zafiro v. United States, 506 U.S. 534, 539 (1993).




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         Neither Thompson nor Adams has shown a serious risk that a joint trial will

  compromise any specific trial right or prevent the jury from making a reliable judgment

  about his guilt or innocence.

         Thompson argues that he will be prejudiced by the evidence presented against

  what he deems to be his more culpable codefendants. Adams, who is charged only with

  the RICO violation, argues he will be prejudiced by evidence of obstruction of justice and

  vote stealing by his codefendants. He asks that the Court either sever his trial or order

  that the vote-stealing and obstruction-of-justice charges in counts 8, 9, and 10 of the

  indictment be tried separately. Thompson and Adams both argue that they will be

  prejudiced by the admission of audio recordings of conversations between their

  codefendants and cooperating individuals that they allege are relevant only to their

  codefendants.    Both Defendants also argue that, at the first trial, the government

  presented a large amount of other-crimes evidence, none of which involved them.

         As an initial matter, the indictment does not indicate that Thompson is one of the

  least culpable defendants. In fact, according to the indictment, Thompson was at the

  center of the alleged criminal enterprise, serving as Clay County Clerk during the entire

  relevant time period and as a member of the Board of Elections during two of the three

  election cycles at issue. In that position, the government alleges that he certified election

  results that he allegedly knew were fraudulent. The indictment alleges that he provided

  large sums of money to be distributed by election officers to buy votes and instructed

  election officers on how to change votes on election machines after the voters thought

  they had cast their votes.




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           As to other-crimes evidence, or 404(b) evidence, the amount of any such

  evidence presented at the second trial will be considerably reduced as set forth in the

  Sixth Circuit’s opinion. In addition, the second trial will involve fewer defendants and

  fewer charges which will necessarily decrease the amount of evidence presented as a

  whole. Furthermore, “juries are presumed capable of sorting evidence and considering

  separately each count and each defendant.” United States v. Caver, 470 F.3d 220, 238

  (6th Cir. 2006) (quoting United States v. Welch, 97 F.3d 142, 147 (6th Cir.1996)).

         Any risk of prejudice from “spillover” evidence in this case can be addressed

  through careful instructions to the jury. In accordance with the Sixth Circuit Pattern

  Criminal Jury Instructions, when evidence is presented at trial that implicates certain

  defendants but not others, the Court will instruct the jury that they should only consider

  the evidence against the relevant defendants and that they cannot consider it any way

  against any of the other defendants. Sixth Circuit Pattern Jury Instructions, § 7.18.

         The Court will also instruct the jury that they must separately consider the

  evidence as to each defendant and separately decide for each defendant whether the

  government has proved that particular defendant guilty. Sixth Circuit Pattern Jury

  Instructions, § 2.01D. Such instructions “often will suffice to cure any risk of prejudice”

  from joint trials. Zafiro, 506 U.S. at 539. The Defendants have provided no reason that

  such instructions will not be adequate in this case.

         Thompson argues that it is clear that the jury in the first trial was unable to

  consider the evidence separately against Thompson because they returned a guilty verdict

  as to all Defendants on all charges and because Judge Reeves later granted the Rule 29

  motions of two of Thompson’s codefendants on charges of attempted extortion. The



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  Court cannot find from either of these facts that the jury was unable to separately

  consider the evidence against each defendant.

          Thompson and Adams also argue that the admission of the recordings of

  conversations between their codefendants and cooperating individuals violates Bruton v.

  United States, 391 U.S. 123 (1968). Thompson argues that the admission of the

  recordings also violates Crawford v. Washington, 541 U.S 36 (2004).

          In Crawford, the Supreme Court held that the Confrontation Clause bars the

  “admission of testimonial statements of a witness who did not appear at trial unless he

  was unavailable to testify, and the defendant had a prior opportunity for cross-

  examination.” Id. at 53–54. “Where testimonial evidence is at issue . . . the Sixth

  Amendment demands what the common law required: unavailability and a prior

  opportunity for cross-examination.” Id. at 68.

          Bruton holds that “[a]n accused is deprived of his rights under the Confrontation

  Clause when the confession of a nontestifying codefendant that implicates the accused is

  introduced into evidence at their joint trial . . . even if the jury is instructed to consider the

  confession only as evidence against the codefendant.” United States v. Cope, 312 F.3d

  757, 780–81 (6th Cir. 2002). “Because it is premised on the Confrontation Clause, the

  Bruton rule, like the Confrontation Clause itself, does not apply to nontestimonial

  statements.” United States v. Johnson, 581 F.3d 320, 326 (6th Cir. 2009).

          Neither Bruton nor Crawford is implicated with the admission of the recordings in

  this case because the statements of the codefendants on the recordings are not testimonial.

  “In determining whether statements are testimonial, we ask whether the declarant

  ‘intend[ed] to bear testimony against the accused.’” Johnson, 581 F.3d at 325 (quoting



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  United States v. Cromer, 389 F.3d 662, 675 (6th Cir. 2004)). This depends on “whether a

  reasonable person in the declarant’s position would anticipate his statements being used

  against the accused in investigating and prosecuting the crime.”Id.

         The codefendants in this case did not know they were being recorded and did not

  anticipate that their statements would be used in a criminal proceeding against Thompson

  or Adams. Their statements on the recordings are therefore not testimonial. Id. “[A]

  statement unwittingly made to a confidential informant and recorded by the government

  is not ‘testimonial’ for Confrontation Clause purposes.” Id. (quoting United States v.

  Watson, 525 F.3d 583, 589 (7th Cir.2008)).

         Of course, before being admitted, the recordings must satisfy the Federal Rules of

  Evidence, including the rules regarding hearsay statements. The Court makes no finding

  with this opinion regarding the admissibility of the recordings. Instead, the Court finds

  that, assuming the recordings are admitted into evidence, their admission does not require

  a separate trial for Thompson or Adams.

          For all these reasons, the Court hereby ORDERS that the motions for separate

  trials filed by Defendants Adams (DE 1411) and Defendant Thompson (DE 1367) are

  DENIED.

         Dated this 4th day of October, 2013.




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